                     Case 6:20-cv-06149-EAW Document 1 Filed 03/12/20 Page 1 of 8



Revised 03/06 WDNY                        UNITED STATES DISTRICT COURT
                                                                                                   20 CV 6149
                                          WESTERN DISTRICT OF NEW YORK

                                   FORM TO BE USED IN FILING A COMPLAINT
                                 UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
                                                    (Prisoner Complaint Form)
All material Filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

                                                    1. CAPTION OF ACTION

A.       Full Name And Prisoner Number of Plaintiff: NOTE; ifmore than one plain tifffiles this action and seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be the plaintiff who filed an application and Authorization.

1. RAkxiv! -fAKif rv"
2.


                                                                 -VS-

B.       FuIlName(s) ofDefendant(s) NOTE: Pursuant to Fed.R.Ci..P. 10(a). the names of^parties must appear in the caption
The court may not consider aclaim against anyone not identified in this section as adefendant. Ifyou have more than six defendants
you may continue this section on another sheet ofpaperifyou indicate below that you have done so
1. nr-jtryiQ-TLi'V pAhJc...r^p:                                         4.
2. f i-ifi-xSToPHe R KO sr m                                            5. ~ ~
3.     'R.A OL-L ^             pX K <c:                                 6.      ,


                                             2. STATEMENT OF JURISDICTION

This is acivil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
Umted States. This action is brought pursuant to 42 U.S.C. §1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4). and 2201.                                                              on pursuant to

                                                 3. PARTIES TO THIS ACTTON
PLAINTIFF SINFORMATION NOTE: To list additionalplaintiffs, use thisformat on another sheet ofpaper.
Name and Prisoner Number ofPlaintiff: Q,A K."X r\A                               Q 3
Present Place ofConfinement &Address: A~T-TTi:r, A Cr)aa£C~rii:nK-l/M . TAr-Ti ffY
 9-0-                              . /X—r-T^TCA                                iMO i 1                    ^
Name and Prisoner Number of Plaintiff:^
Present Place of Confinement & Address:


                                                                                                    MAR 12 2020
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DEFENDANT'S INFORMATION NOTE: To provide informaiion about more defendants than there is room for here, use this
format on another sheet ofpaper.

Name ofDefendant: "Trn
(If applicable) Official Position ofDefendant:                             POLJ^O'C            ^€~(^C-~sF~A.KJI.T"
(If applicable) Defendant is Suedin            Individual and/or           Official Capacity
Address ofDefendant: (n            Q Kl« CLTC KITDnJ A'yttI                             (^OCj-)€1              N. i.V
 M(oC->S                                                                  "
Name ofDefendant: C~!. I~^                                      \<COSC'^tH
(If applicable) Official Position ofDefendant: fioC HE'-S"(F7P-v PO LX Qt'                               ~X- Cfv Q-^
(If applicable) Defendant is Sued in           Individual and/or    s/^ Official Capacity
Address ofDefendant: inh O              KJ . C UIQ-TDNJ Avi F                            QtC                       K


Name ofDefendant:              AO                        '^"T
(Ifapplicable) Official Position ofDefendant: ROT,M                               PoL"XC^
(If applicable) Defendant is Sued in sy^ Individual and/or                 Official Capacity
Address ofDefendant: 1                                                   -STT                l4        "T'fcnQ. KJ V'



                           4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A.       Have you begun any other 1^'suits instate or federal court dealing with thesame facts involved in this action?
                  Yes         No_jv^L

If Yes, complete the next section. NOTE: Ifyou have brought more than one lawsuit dealing with the samefacts as this
action, use thisformat to describe the other action(s) onanother sheetofpaper.
 1.      Name(s) of the parties to this other lawsuit:
         Plaintiff(s):_
         Defendant(s):_


         Court (iffederal court, name the district; if state court, name the county):


3.       Docket or Index Number:

4.       Name of Judse to whom case was assigned:
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5.      The approximate date the action was filed:_
6.      What was the disposition of the case?
                Is it still pending? Yes           No
                           If not, give the approximate date it was resolved.
                 Disposition (check the statements which apply);
                       Dismissed (check the box which indicates why it was dismissed):
                                      By court sua sponte as fnvolous, malicious or for failing to state a claim
                                      upon which relief can be granted;
                                      By court for failure to exhaust administrative remedies;
                                      By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                      order;

                                      By comt due to your voluntary withdrawal of claim;
                       Judgment upon motion or after trial entered for
                                 plaintiff
                                 defendant


 B.      Have you begun any other lawsuits in federal court which relate to your imprisonment?
                 Yes             No
 If Yes, complete the next section. NOTE: i/yow have brought more than one other lawsuitdealing withyour imprisonment,
 use this sameformat to describe the other action(s) on another sheet ofpaper.

 1.      Name(s) of the parties to this other lawsuit:
                 Plaintiff(s):                          :


                 Defendant(s):


 2.      District Court:
 3.      Docket Number':

 4.      Name of District or Magistrate Judge to whom case was assigned:_


 5.      The approximate date the action was filed:_
 6.      What was the disposition of the case?
                  Is it still pending? Yes          No
                            If not, give the approximate date it was resolved..
                 Case 6:20-cv-06149-EAW Document 1 Filed 03/12/20 Page 4 of 8




                 Disposition (checkthe statements which apply);
                      Dismissed (checkthe boxwhichindicates why it was dismissed):
                                 By court?uasponte as frivolous, malicious or for failing to statea claim
                                 upon which relief can be granted;
                                 By court for failure to exhaust administrative remedies;
                                  By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                  order;

                                  By court due to your voluntarywithdrawal of claim;
                       Judgment upon motion or after trial entered for
                         _ _ plaintiff
                               defendant.




                                                5. STATEMENT OF n.ATM

For your information, the following is alist ofsome ofthe most frequently raised grounds for reliefin proceedings rmder 42
U.S.C. § 1983. (This list does not includeall possibleclaims)

                 »Religion                  • Access to the Courts          • Search & Seizure
                 • Free Speech              '• False Arrest                 • Malicious Prosecution
                 •Due Process               • Excessive Force               • Denial of Medical Treatment
                 • Equal Protection         • Failure to Protect            • Right to Counsel

Please note that it is not enough tojust listtheground(s) foryouraction. You must include a statement ofthe facts which
you believe support each ofyour claims. In other words, tell the story ofwhat happened to you but do not use legal jargon.
Fed.R.Civ.P. 8(a) states that apleading must contain "a short and plain statement ofthe claim showing that the pleader is
entitledto relief." "The function ofpleadings under theFederal Rules is togive fairnotice oftheclaim asserted. Fair notice
isthat which will enable the adverse party to answer and prepare for trial, allow the application ofres judicata, and identify
the nature ofthe case so itmay be assigned the proper form oftrial." Simmons v. Abmzyo. 49 F.3d 83,86 (2d Cir. 1995).
Fed.R.Civ.P. 10(b) states that "[ajll averments of claim ... shall be made in numbered paragraphs, the contents ofeach of
which shall be limited as far a practicable to a single set of circumstances."


                                           Exhaustion of Administrative Remedies

Notethat according to 42 U.S.C. § 1997e(a), "[n]o action shall bebrought with respect to prison conditions under section
1983 ofthis title, orany other Federal law, by aprison erconfined inanyjail, prison, orother correctional facility until such
administrative remedies as are available are exhausted."

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.
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A. FIRST CLAIM: On(date of the incident)                                                          .
defendant (give the name and position held of eachdefendant involved in this incident) "~T"zI.aO 0""T1-1^
                                                          PouzrcB

did the followingto me (briefly state what each defendant named above did):                           C A:                        ^
                             A^ap                                                                            <;A-V-rKlA
^^Pbi.Ar\c:                                       ~TUf                                 m{X'!                     zr
 .^PPCXQACH A O                         i-liTAn -n^ A.S\c. uoi4vA-T ;-mA AaC-XST
 L/XCJKi(^>( iAGpA                     u->AA        Pn€l lAF-              f^^ZXT-f.O)          l-|-r S       C1/\Q^
 /\vuO                                 ro^ itkJ /v>-f />rY-^c xti-A _~xv4^k^\ p-AA-r
<^C uo^-TA i-AtxtS P^A-rc\K^, tAA:                                                        Ic-Trcic
 oOq                   lohI^tLa. tx u3AS r)M -r>-((-                                        i kJiI>
The constitutional basis for this claim under 42 U.S.C. §1983 is: v/3rc3(„J\~T"3:C->NJ Ori OA~/     A kJ i3>
        A<vigslO<-nFiO-T A\,<^ PAC-TAI OJSCdzrvVljKlA-ra-ns.]
The reliefI amseeking for this claim is (briefly state thereliefsought):   A.OClf^ (2>t")0 ~T0"TA<_          rTK^i
                                 sOAmACAFS                                                  AhJ\-D           Fnr?      i-4-r.-^
-TP      PA                            pgo-rvn         H—s                     AS A          Pc^e-icrr"
                            Exhaustion of Your Administrative Remedies for this riaim:

Did you grieve or appeal this claim?    A     Yes          No Ifyes, what was the result? TT—r        ~T"S

Did you appeal that decision?           Yes          No If yes, what was the result?


                    Attack copies ofany documents that indicate that you have exhausted this claim.
If you did not exhaust youradmiiiistrative remedies, statewhyyou did not doso: 37 AtTX                               T">--i
-Ti4(^        POpcass o r                                                       mA A\ppr-y\(.



A. SECOND CLAIM: On (date of the incident) OA.A (2r 1-1                            QO \ ^ ^                            ,
defendant (give the name and position held ofeach defendant involved inthis incident) C l4 tO. 'XSTC> Pf-iET(Z
 ^s^oscH          anjo                            kV        Ptci^
t^TVi            a,or-\^e^<,-T>=:r2.                 ?n(                    r>PF3-c.p^a
                 Case 6:20-cv-06149-EAW Document 1 Filed 03/12/20 Page 6 of 8




did the following to me (briefly state what each defendant named above did): I J Po           A(XrL~X\ ( 6
 ( ^ S C K PU( i                                               or>(=~ Przam                         RAC tc
    -rv-l€^ PoL-^ec: caO- scA^rr^Fry               -ri-ir-
(Par^cJsJO Akjo PO^ccp^ftop'o ^-tt^ mASr~. rP("y:^-r
Ak-10 r M^>^cC onA, rrta/xr-n-Ljp--ic>U A P-^cvtiP loi7,:t-.s~t
£o--rU AVlofv^iAS nrNaAUtQ_Tr)^jni..                                                v^)AC\<c c/p-rnOrr^^i c-C
           ~T"ci;TTi4       n>Ni ~~n-iP AA-^iPZ/v^PKA r                        AnJO <'n( j / "rixAf P"
roki~roS"mKiS AnJo APsO.AP~xnNi.S, (ZPOi i-rd-a-p a                                           i4opPx7>^.(
The constitutional basis for this claim under 42 U.S.C. § 1983 is: C^CiL Af~(. A kl O O KJ US Li A ("
      ki^r^ Uon PTNi~T" U m OE'P. tPfT                                         ^ A rr\ F^sJ. O on (pp'! ""P
The relief Iam seeking for this claim is (briefly state the reliefsought):                          COiVl P(PkJ SATQ/)^
OAAy^r-P:S AAO -rPA-T -n4g-/- A/                                                    Qgr R3:nP-n-n ~0/->/vi
-tHP-xaQ-                               AS PPLsmc^r-
                             Exhaustion of Your Administrative Remedies for this riaim;
Did you grieve or appeal this claim? s/^ Yes                 No Ifyes, what was the result?           ~-rl4r
Prior P SS :xs s~rzcuu                                         c^ozukI
Did you appeal that decision?            Yes          No If yes,what wasthe result?


                     Attachcopies ofanydocuments that indicate thatyou have exhausted this claim.
If you did not exhaust your administrative remedies, state why you did not do so:



If you have additional claims, use the above format and set them out on additional sheets ofpaper.

                                                   6. RELIEF SOUGHT

                          Summarize the reliefrequested byyou in eachstatement of claim above.
  5^060 non . ziD^\ rn<v^PPK\SA--n:MQA^                                                                Pbo,
                                  SLA''nAnrKJ F~lD                           ni:K,\r ~ rYn~'Kt~~r AP
udCTX A P voO- P( jL~Ti.AQ.fc:                                    nn(ACD--!rr At              4\san) PovrUnAntTr
                                  A-hOCO PponcAJPvi— Oi- Dt PO-iOOAKlTO                                          Of-pc^

Do you want ajury trial? Yes \/^ No
                Case 6:20-cv-06149-EAW Document 1 Filed 03/12/20 Page 7 of 8




I declare under penalty of perjury that the foregoing is true and correct.
Executed on
                                       (date)
NOTE: Each plaintiffmust sign this complaint andmust also sign all subsequent papers filed with the Court.
                                                             CA- -

                                                              Signature(s) of Plaintiff(s)
                                Case 6:20-cv-06149-EAW  Document
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JS 44   CRev. 08/16)
                                                    CIVIL                                                                                                    20 CV 6l49ef\MV
provided by local rules ofcourt This f^farorovShy^theMidi^Su^nce^Sae Unto
purpose ofrcunatmg the civil docket sheet. (SEEINSTKUCTIONS ON NEXTPAGE OF THISFORM) ^mSeptember 1974. is required for the use ofthe Clerk of Court for the
                                                                                                                                                                                         required by law, except as'
I. (a) PLAINTIFFS
                                                                                                                  de™akts TT-v,o-THt-
    Rakx^vi                     i_AmAR
                                     (I ^XanJ-CCX'                                                                               [oPhe^x
          \ni33'^c;^3                                                                                                       v'AO IH X pTj: \ct
    (b) County ofResidence ofFirst Listed Plaintiff rVTOfO iT Q, (—                                               County ofResidence ofFirst Listed Defendant                               (\         (") f ^ -
                                 (EXCEPTIN U.S. PLAINTIFF CASES)
                                                                                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE;        IN LAND CONDEMNATION CASES t ISF.THE T


    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (IfKnown)




II. BASIS OF JURISDICTION(tPtece an •X" in One Box Only)                                                    CITIZENSHIP          OF PRINCIPAL PARTIES (Piu^^iSm^sf„rPia,n,F
O   1   U.S. Govcrmncnt                         Federal Question
                                                                                                              (For Diuersiv Coses Only)                   oTSX^eadaar;
           Plaintiff
                                                                                                                                        PTF        DEF                                                     pyp       jjgp
                                                   (U.S. GovernmentNota Party)                          Citizen ofThis State           ^1           0 1 Incoiporatcd or Principal Place                    0     4   O 4
                                                                                                                                                               of Business In This State
        U.S. Government                  D 4    Diversity                                               Citizen of Another State
           Defendant                               (Indicate Ortzeny^/> ofPartiesinhemIII)                                              0 2         0 2 Incorpoiared andPrincipal Place                    0     5   OS
                                                                                                                                                               of Business In Another State
                                                                                                        Citizenor Subjectof a           0 3         0    3   ForeignNation.
                                                                                                                                                                                                                     O   6
                                                                                                            Foreiim Countrv
rv. NATURE OF SUIT (Placc an "X" in One Box Only)
                                                                                                                                                Click here for! Wa.lurc oi. Suit Cod;!' OescnDtidn:^
                                                                                                                                                     • ^BANRRUPTCY
O   110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY              O 625 Drug Related Seizure          • 422 Appeal 28 USC.158                  • 375 False ClaimsAct
O   120 Marine                       O 310 Airplane                     • 365 Personal Injury ♦                 ofProperty 21 USC 881
•   130 Miller Act                                                                                                                          •     423 Withdrawal                     0 3 76 QuiTarn(31 USC
                                     • 315 Airplane Product                   ProductLiability          •   690 Other
Q 140 Negotiable Instrument                                                                                                                             28 USC 157                              3729(a))
                                           Liability                   •' 367 Health Care/
0 150 Recovery of Overpayment        O 320 Assault, Libel &.                  Phannaceuiical
                                                                                                                                                                                     O 400 State Rcapporrionmcnt
      & Enforcement of Judgment                Slander                         Personal Injury                                                                                       •     410 Antitrust
                                                                                                                                            • 820 Copyrights                         • 430Banks and Banking
O   151 Medicare Act                 O 330 FederalEmployers'                   ProductLiability
O 152 Recovery of Defaulted                                                                                                                 • 830 Patent                             0     450 Commerce
                                               Liability               O 368 Asbestos Personal •
        Student Loans                                                                                                                       D 840 Trademark                          0 460 Deportation
                                     O 340 Marine                            Injury Product
        (Excludes Veterans)          O 345 Marine Product                    Liability                                                                                               0 470 Racketeer Influenced and
•   153 Recovery ofOverpayment                                                                                                              •/-iiSDGIj^-fSETaJKFTYv                        CorruptOrganizations
                                           Liability                    PERSONAL PROPERTY O 710 Fair Labor Standards
        of Veteran's Benefits
                                                                                                                                            O 861 HIA (1395ff)                       D 480 Consumer Credit
                                     O 350 Motor Vehicle               • 370 Other Fraud
•   160 Stockholders' Suits          • 355 Motor Vehicle
                                                                                                 Act                                        O 862 BlackLung (923)                    0     490 Cablc/Sat TV
                                                                       O 371Truthin Lending             O 720Labor/Management               O 863DIWC/DIWW (405(g))
D   190 Other Contract                         Product Liability       O 380 Otlier Personal                                                                                         O 850 Securities/Coimnodities/
                                                                                                                Relations                   •     864 SSID Title XVI
O 195 Contract Product Liability     D 360 Other Personal                    PropertyDamage                                                                                                    Exchange
                                                                                                        • 740Railway Labor Act              O 865 RSI (405(g))                       • 890Other Statutory Actions
0   196 Franchise                              Injury                  O 385 Property Damage            • 751 Family and Medical                                                     • 891 Agricultural Acts
                                     • 362 PersonalInjury -                    Product Liability                Leave Act
                                               Medical Malpractice                                                                                                                   0 893 Environmental Matters
                                                                                                        • 790OtherLaborLitigation                                                    0 895 Freedom of Information
                                                                                                        0 791 Employee Retirement                                                              Act
•   210 Land Condcrrmaiion           O 440 Otlier Civil Rights           Habeas Corpus;                       Income SecurityAct
P 220 ForcQlosurc                                                                                                                           • 870 Taxes (U.S. Plaintiff              •     896 Arbitration
                                     D, 4^] Voting ...       .         O 463 Alien.Detainee,
O 230 Rent Lease '£lEjectrhehi                                                                                                                   ;pr.D.efcndant) •                   •     899.Administrativ£.Proccdure
                                     D 442 Employment                  •   510 Motions to Vacate                                            n 871 IRS—Third Party                              Act/Review or Appeal of
O   240 Torts to Land                O 443 Housing/                          Sentence
• 245 Tort Product Liability                                                                                                                            26 USC 7609                            Agency Decision
                                               Accommodations          O 530 General
O 290 All Other Real Property        D 445 Amcr. w/Disabilities •      • 535Dcatli Penalty                                                                                           0 950Constimtionality of
                                                                                                               ^jvpaTGRasriQN;v.:                                                              State Statutes
                                               Employment                  Other:                       O 462 Naturalization Application'
                                     D 446 Amcr. w/Disabilitics • O 540 Mandamus & Other                O 465Oliicr Immigration
                                               Otiier                      550 Civil Rights                     Actions
                                     •   448 Education                 D 555 Prison Condition
                                                                       O 560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an "X" inOne Box Only)
    ^   Original          O 2 Removed from                  O      3   Remanded from               D 4 Reinstated or            5 Transferred from
        Proceeding               State Court                                                                                                                 O 6      Muitidistrict              O I Muitidistrict
                                                                       Appellate Court                  Reopened                   Another District                   Litigation -                     Litigation -
                                                                                                                                   (specify)                          Transfer                         Direct File
                                          Cite the U.S. Civil Statute unto which yoi^efiling (Da not deeJurisdictianalstatutes unlcs.sdiyersM
VI. CAUSE OF ACTION                       his—iXiCi—A-T'\fTK>r>i\^X,Kt'T                                                                                                                    vIXT-.i A
                                          Brief description of cause:
                                           -bUFFt-i7i^O                                               .Ar-^-O iTViVXAl                                    ,- '0-~-v-rx                       'TO
VIL REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                            DEMANDS                                       CHECK YES only ifdemanded in co^laint;
         COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.
                                                                                                              5.000. Pod                                  JURY DEMAND;                      iXy es         •    No
Vin. RELATED CASE(S)
                                               (See instructions):
         IF ANY
                                                                       JUDGE
                                                                                                                                                _ DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                       APPLYING IFP                                      JUDGE                                 MAG. JUDGE
